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 4                                  UNITED STATES DISTRICT COURT
 5                                         DISTRICT OF NEVADA
 6                                                    ***
 7      UNITED STATES OF AMERICA,                               Case No. 2:17-cr-00180-JAD-PAL
 8                                            Plaintiff,                    ORDER
               v.
 9                                                              (Mot Contact Visit – ECF No. 239)
        EVERLY JAMES,
10
                                            Defendant.
11

12            Before the court is defendant Everly James’ (“James”) Motion for Order Allowing Mr.
13     James a Contact Visit with His Minor Child (ECF No. 239). No opposition has been filed and the
14     time for filing an opposition has expired.
15            The court contacted the United States Marshal Service (“USMS”) to inquire about USMS
16     national policy on this matter. The court was informed that the policy of the USMS, which is
17     included as part of the contract with the Nevada Southern Detention Center, is that contact visits
18     are only allowed between detainees and counsel of record in their case.
19            The court appreciates Mr. James’ natural desire to have contact visitation with his newborn
20     child. However, almost all pretrial detainees would like to have contact visits with their loved
21     ones, and if the court grants this request other detainees will undoubtedly insist on similar
22     treatment. A pretrial detention facility is intended to hold inmates on a short term basis, and is
23     simply not set up or staffed to allow contact visits except with counsel of record. The court will
24     therefore deny the motion.
25     ///
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27     ///
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                                                           1
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 1           IT IS ORDERED that James’ Motion for Order Allowing Contact Visit with His Minor

 2     Child (ECF No. 239) is DENIED.

 3           DATED this 22nd day of February, 2018.
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 5
                                                      PEGGY A. LEEN
 6                                                    UNITED STATES MAGISTRATE JUDGE
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